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                                                                                           CO-290
Notice of Appeal Criminal                                                                 Rev. 3/88

                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                           :

        v.                                          :                Cr. No. 21-118 (RCL)-1

ERIC MUNCHEL,                                       :

                 Defendant.                         :

                                         NOTICE OF APPEAL
Name and address of appellant:                               Eric Munchel
                                                             Correctional Treatment Facility
                                                             1901 E St., S.E.
                                                             Washington, DC 20002

Name and address of appellant’s attorney:                    Sandra Roland
                                                             Assistant Federal Public Defender
                                                             625 Indiana Avenue, NW, Suite 550
                                                             Washington, DC 20004

Offense:         18 U.S.C. § 1512(c)(2) – Tampering with a witness;
                 18 U.S.C. § 1752(a)(1)-(2) – Temporary residence of the president;
                 40 U.S.C. § 5104(e)(1) Violent Entry or Disorderly Conduct


Concise statement of judgment or order, giving date, and any sentence:

                 02/17/2021: Order of Detention Pending Trial.

Name and institution where now confined, if not on bail:                Correctional Treatment Facility

I, the above named appellant, hereby appeal to the United States Court of Appeals
for the District of Columbia Circuit from the above-stated judgment.


   02/18/2021                                                      Eric Munchel ___     __     __
     DATE                                                           APPELLANT


CJA, NO FEE             FPD                                      Sandra Roland _____________
PAID USDC FEE           No                                   ATTORNEY FOR APPELLANT
PAID USCA FEE           No_______
Does counsel wish to appear on appeal? X Yes ___ No
Has counsel ordered transcripts? _ _ Yes      X No
Is this appeal pursuant to the 1984 Sentencing Reform Act?   X   Yes _ _ No
